Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 1 of 18




                EXHIBIT 28
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 2 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 3 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 4 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 5 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 6 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 7 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 8 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 9 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 10 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 11 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 12 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 13 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 14 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 15 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 16 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 17 of 18
Case 1:20-cv-11501-RGS Document 89-28 Filed 08/08/22 Page 18 of 18
